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  10    (USA), INC.; TRACY AGUILAR
  11

  12                                 UNITED STATES DISTRICT COURT
  13                               NORTHERN DISTRICT OF CALIFORNIA
  14

  15    GEARY SHA, an individual,                        Case No. 3:24-cv-01738
  16                                        Plaintiff,   DECLARATION OF TALIN
                                                         BAZERKANIAN IN SUPPORT OF
  17                     vs.                             DEFENDANT AIRCRAFT SERVICE
                                                         INTERNATIONAL, INC.’S NOTICE OF
  18    AIRCRAFT SERVICE INTERNATIONAL,                  REMOVAL OF ACTION 28 U.S.C. § 1332
        INC., a Delaware corporation; MENZIES            (DIVERSITY JURISDICTION)
  19    AVIATION (USA), INC., a Delaware
        corporation; TRACY AGUILAR, an individual;
  20    and DOES 1 through 50, inclusive,
  21                                    Defendants.
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                     DECLARATION OF TALIN BAZERKANIAN IN SUPPORT OF NOTICE OF REMOVAL
                                                                     Case No. 3:24-cv-01738
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    1                                 DECLARATION OF TALIN BAZERKANIAN
    2   I, Talin Bazerkanian, declares as follows:
    3              1.      I am the Senior Vice President, Human Resources, Americas Region for Menzies
    4   Aviation, Inc., the parent company of defendants Aircraft Service International, Inc. (“ASI”) and
    5   Menzies Aviation (USA), Inc. (“Menzies”) in the above-entitled matter. I have personal knowledge of
    6   the facts set forth in this Declaration and, if called as a witness, I could and would testify competently
    7   and under oath to the following facts.
    8              2.      On June 15, 2023, Plaintiff served ASI with a copy of the Complaint.
    9              3.      I have been employed by Menzies Aviation, Inc. for over thirty years, and have worked
  10    in various human resources functions. I have been Menzies Aviation, Inc.’s highest-ranking human
  11    resources employee in the Western Hemisphere for approximately 20 months and have significant and
  12    personal knowledge regarding ASI’s and Menzies’ legal structure, organization, and how the companies
  13    operate. Through such personal knowledge and experience, I can state that:
  14                       a.     ASI is a corporation incorporated under the laws of Delaware;
  15                       b.     ASI is headquartered in Texas with a principal place of business in Grapevine,
  16                              Texas;
  17                       c.     Menzies is a corporation incorporated under the laws of Delaware; and
  18                       d.     Menzies is headquartered in Texas with a principal place of business in
  19                              Grapevine, Texas (previously Fort Worth, Texas).
  20               4.      ASI formerly employed Plaintiff in the positions of Account Manager and General
  21    Manager working at its operation at the San Francisco International Airport. Prior to executing this
  22    Declaration, I reviewed Plaintiff’s personnel file and verified that Plaintiff’s most recent salary
  23    compensation as a General Manager was $108,000 per year, equivalent to an hourly pay rate of
  24    approximately $51.92.
  25               //
  26               //
  27               //
  28               //

                        DECLARATION OF TALIN BAZERKANIAN IN SUPPORT OF NOTICE OF REMOVAL
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